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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 23-20073-CIV-ALTONAGA/Damian

  FLORAL LOGISTICS OF
  MIAMI, INC.,

         Plaintiff,
  v.

  NEW YORK GARDEN FLOWER
  WHOLESALE, INC.; et al.,

        Defendants.
  ________________________________/

                                             ORDER

         THIS CAUSE came before the Court at an April 13, 2023 hearing [ECF No. 32],

  addressing Plaintiff, Floral Logistics of Miami, Inc.’s Motion to Dismiss New York Garden Flower

  Wholesale, Inc.’s Amended Counterclaim [ECF No. 25]. For the reasons stated in open court, it

  is hereby

         ORDERED AND ADJUDGED that the Motion [ECF No. 25] is GRANTED. Defendant

  New York Garden Flower Wholesale, Inc. has until April 20, 2023 to file its amended

  counterclaims.

         DONE AND ORDERED in Miami, Florida, this 13th day of April, 2023.



                                                ________________________________________
                                                CECILIA M. ALTONAGA
                                                CHIEF UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
